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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA

                                          )
UNITED STATES OF AMERICA,                 )
                                          )   Criminal No. 4:22-cr-199
             v.                           )
                                          )   GOVERNMENT’S PROPOSED
BRADLEY EUGENE WENDT,                     )   REVISION TO THE COURT’S
                                          )   CONSPIRACY INSTRUCTION
             Defendant.                   )
                                          )

      The government submits the following proposed revision to the Court’s

conspiracy instruction.

      1.     The Court held a final jury instruction conference on February 12, 2024.

At that conference, the parties discussed the Court’s Proposed Instruction No. 10,

which concerns Count 1 of the Indictment (Conspiracy to Make False Statements to

and Defraud the ATF).

      2.     During the conference, the Court expressed concern about the need for

the jury to be unanimous as to whom defendant conspired with. The Court referenced

the Eighth Circuit’s model instruction on multiple conspiracies and indicated that the

Court may give some version of that instruction.

      3.     Upon reviewing Eighth Circuit Model Instruction No. 5.06B Conspiracy:

Single/Multiple Conspiracies, it appears that instruction would not be appropriate in

these circumstances. Specifically, the Committee Comments provide that the model

instruction “should be used when there is some evidence that multiple conspiracies

may have existed, and a finding that multiple conspiracies existed would constitute




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a material variance from the indictment.” Eighth Circuit Model Instruction No.

5.06B, Committee Comments.

      4.    In this case, the government did not understand the Court to find that

there was a variance from the indictment. Instead, it appeared the Court believed

there may be multiple conspiracies alleged in the indictment.

      5.    In these circumstances, it may be sufficient to add the following

language at the end of the Court’s existing instruction, along with an appropriate

interrogatory on the verdict form, to ensure a unanimous verdict:

      In order for you to find the defendant guilty of Count 1, you must also
      unanimously agree on whom he conspired with: (a) Johnathan Marcum;
      or (b) Robert Williams; or (c) both. You will mark on your Verdict Form
      which individuals, if any, with whom you unanimously find the
      defendant conspired.

      6.    This language and interrogatory would “ensure a unanimous verdict on

one conspiracy.” Eighth Circuit Model Instruction No. 5.06B, Committee Comments.

                                             Respectfully submitted,

                                             Richard D. Westphal
                                             United States Attorney

                                      By:    /s/ Ryan W. Leemkuil
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CERTIFICATE OF SERVICE
I hereby certify that on February 12, 2024, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

    U.S. Mail       Fax       Hand Delivery

  X ECF/Electronic filing    Other means

UNITED STATES ATTORNEY
By: /s/ Ryan W. Leemkuil




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